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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                               NORTHERN DISTRICT OF CALIFORNIA

                                   5                                          SAN JOSE DIVISION

                                   6

                                   7       MICHEL KECK,                                      Case No. 17-cv-05672-BLF
                                   8                      Plaintiff,
                                                                                             ORDER DENYING ALIBABA
                                   9               v.                                        DEFENDANTS’ MOTION FOR
                                                                                             PARTIAL JUDGMENT ON THE
                                  10       ALIBABA.COM HONG KONG LTD., et                    PLEADINGS
                                           al.,
                                  11                                                         [Re: ECF 292]
                                                          Defendants.
                                  12
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 United States District Court




                                  13            Plaintiff Michel Keck brings this copyright and trademark infringement action against

                                  14   Alibaba.com Hong Kong Ltd. (“Alibaba HK”), Taobao China Holding Ltd. (“TCHL”), Zhejiang

                                  15   Taobao Network Co., Ltd. (“Zhejiang Taobao”) (collectively, the “Alibaba Defendants”) and

                                  16   numerous Chinese merchants. See generally First Amended Complaint (“FAC”), ECF 286.

                                  17   Before the Court is Alibaba Defendants’ Motion for Partial Judgment on the Pleadings

                                  18   (“Motion”). Motion, ECF 292. Specifically, Defendants1 move to dismiss Count III of the FAC

                                  19   for failure to sufficiently allege the requisite elements of a vicarious copyright infringement claim.

                                  20   See Motion at 1. The Court previously ruled that Defendants’ Motion would be determined

                                  21   without oral argument. See ECF 299. For the reasons set forth below, the Court hereby DENIES

                                  22   Defendants’ Motion for Partial Judgment on the Pleadings.

                                  23       I.   BACKGROUND
                                  24            Plaintiff is a professional artist who resides in Indiana and sells her artwork from her own

                                  25   website and through authorized dealers. FAC ¶¶ 1, 180. She alleges that her artwork was

                                  26   reproduced and sold on websites operated by Alibaba Defendants—e.g., Alibaba.com,

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                                           In this Order “Defendants” refers to the Alibaba Defendants.
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                                   1   AliExpress.com, Taobao Marketplace, Tmall, and 1688.com—by Chinese merchants without her

                                   2   authorization. See, e.g., id. ¶¶ 149–156, 190–201. Plaintiff alleges that she sent numerous notices

                                   3   requesting that the infringing products be taken down from the virtual online stores. See, e.g.,

                                   4   id. ¶¶ 264–74, 278–282. Thereafter, on October 2, 2017, Plaintiff filed this lawsuit against

                                   5   Alibaba Defendants and numerous Chinese merchants (“Defendant Stores”).

                                   6            Plaintiff’s original complaint included Defendants Alibaba.com, Inc., Alibaba Group

                                   7   (U.S.), Inc., Alibaba Group Holding, Ltd. (“AGHL”), and Alipay US, Inc. On February 7, 2018,

                                   8   Keck dismissed Defendant Alipay US, Inc. without prejudice. ECF 165. On August 30, 2018, the

                                   9   Court dismissed Defendant AGHL for lack of personal jurisdiction without leave to amend and

                                  10   dismissed Plaintiff’s claim for vicarious copyright infringement against Defendants Alibaba.com,

                                  11   Inc. and Alibaba Group (U.S.), Inc. with leave to amend, among other rulings. See Order Granting

                                  12   in Part and Denying in Part Alibaba Defendants’ Motion to Dismiss at 25, ECF 277.
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                                  13            Plaintiff subsequently filed her FAC amending, inter alia, her vicarious copyright

                                  14   infringement claim. The FAC asserts the following five claims:

                                  15            (1) Direct copyright infringement (against Defendant Stores);

                                  16            (2) Contributory copyright infringement (against Alibaba Defendants);

                                  17            (3) Vicarious copyright infringement (against Alibaba Defendants);

                                  18            (4) Contributory trademark infringement (against Alibaba Defendants); and

                                  19            (5) Contributory trademark infringement and false designation of origin under 15 U.S.C.

                                  20                § 1125(a) (against Alibaba Defendants).

                                  21   FAC ¶¶ 373–401. The second and third claims are class claims. The instant Motion for Partial

                                  22   Judgment on the Pleadings as to Count III followed. The Court’s prior order at ECF 277 did not

                                  23   address vicarious copyright infringement as to Defendants Alibaba HK, TCHL, or Zhejiang

                                  24   Taobao (the “Alibaba Defendants” in Plaintiff’s FAC, who bring the instant Motion).

                                  25            Additional background2 not relevant to the instant Motion is not restated here.

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                                           For additional background, see the Court’s prior orders at ECF 269 and ECF 277.
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                                   1    II.   LEGAL STANDARD

                                   2          Federal Rule of Civil Procedure 12(c) provides that “[a]fter the pleadings are closed—but

                                   3   early enough not to delay trial—a party may move for judgment on the pleadings.” A Rule 12(c)

                                   4   motion is “functionally identical” to a Rule 12(b)(6) motion, and the same legal standard applies

                                   5   to both. Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1054 n.4 (9th Cir.

                                   6   2011). Thus, when considering a Rule 12(c) motion, a district court “must accept the facts as pled

                                   7   by the nonmovant.” Id. at 1053. The district court then must apply the Iqbal standard to

                                   8   determine “whether the complaint’s factual allegations, together with all reasonable inferences,

                                   9   state a plausible claim for relief.” Cafasso, 637 F.3d at 1054 & n.4 (citing Ashcroft v. Iqbal, 556

                                  10   U.S. 662 (2009)).

                                  11          A district court generally may not consider materials outside the pleadings in deciding a

                                  12   motion under either Rule 12(b)(6) or Rule 12(c), and if such materials are presented to the court
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                                  13   and not excluded, the motion must be treated as a motion for summary judgment under Rule 56.

                                  14   See Fed. R. Civ. P. 12(d) (“If, on a motion under Rule 12(b)(6) or 12(c), matters outside the

                                  15   pleadings are presented to and not excluded by the court, the motion must be treated as one for

                                  16   summary judgment under Rule 56.”). A district court may, however, consider the following

                                  17   materials without converting a Rule 12(c) motion to a Rule 56 motion: “(1) exhibits to the

                                  18   nonmoving party’s pleading, (2) documents that are referred to in the non-moving party’s

                                  19   pleading, or (3) facts that are included in materials that can be judicially noticed.” Yang v. Dar Al-

                                  20   Handash Consultants, 250 F. App’x 771, 772 (9th Cir. 2007).

                                  21   III.   DISCUSSION
                                  22          Defendants argue that Plaintiff’s vicarious copyright infringement claim (Count III of the

                                  23   FAC) should be dismissed for failure to sufficiently allege one or both necessary elements of such

                                  24   a claim. See Motion at 1–3. Plaintiff counters that “Defendants cannot advance a serious

                                  25   argument that, under existing precedent, Keck failed to allege facts supporting the elements of

                                  26   vicarious [copyright] infringement.” Opp’n at 2, ECF 296.

                                  27          Vicarious copyright liability is an “outgrowth” of respondeat superior. See A&M Records,

                                  28   Inc. v. Napster Inc., 239 F.3d 1004, 1022 (9th Cir. 2001) (quoting and citing Fonovisa, Inc. v.
                                                                                         3
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                                   1   Cherry Auction, Inc., 76 F.3d 259, 262 (9th Cir. 1996)). “[T]o succeed in imposing vicarious

                                   2   liability, a plaintiff must establish that [1] the defendant exercises the requisite control over the

                                   3   direct infringer and that [2] the defendant derives a direct financial benefit from the direct

                                   4   infringement.” Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1173 (9th Cir. 2007) (citing

                                   5   Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930 (2005)). Here, for the

                                   6   reasons discussed below, the Court finds that Plaintiff’s FAC contains sufficient factual

                                   7   allegations to support a vicarious copyright infringement claim against Defendants. Each element

                                   8   is discussed in turn, followed by a short conclusion.

                                   9            A.   Requisite Control
                                  10            “A vicarious infringer ‘exercises control over a direct infringer when he has both a legal

                                  11   right to stop or limit the directly infringing conduct, as well as the practical ability to do

                                  12   so.’” Williams v. Gaye, 895 F.3d 1106, 1132 (9th Cir. 2018) (quoting Amazon.com, 508 F.3d at
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                                  13   1173).

                                  14            First, Defendants argue that Keck does not plausibly allege that Defendants had the right to

                                  15   stop or limit the infringing conduct by the Chinese merchants who use Defendants’ websites

                                  16   because the merchants are “independent actors whose product listings are not [] materially shaped

                                  17   by the Alibaba Defendants.” See Motion at 12. Defendants acknowledge that they have the

                                  18   capacity to “remove infringing listings and penalize the sellers,” see Motion at 11, but contend that

                                  19   this “prong of vicarious liability requires more than simply the capacity of an online service

                                  20   provider to remove infringing material from the system,” see Motion at 10. Defendants cite

                                  21   Amazon.com, 508 F.3d at 1172–75 for this proposition. See Motion at 10.

                                  22            In Amazon.com, the Ninth Circuit evaluated plaintiff Perfect 10’s contention that Google

                                  23   was vicariously liable for third-party websites’ reproduction, display, and distribution of

                                  24   unauthorized copies of Perfect 10’s images on the internet. See Amazon.com, 508 F.3d at 1173.

                                  25   In reversing the district court’s grant of a preliminary injunction, the Ninth Circuit held that

                                  26   Perfect 10 did not demonstrate a likelihood of success in establishing that Google had the right

                                  27   and ability to stop or limit the infringing activities of the third-party websites. See id. at 1173. In

                                  28   Amazon.com, some third-party websites participated in Google’s AdSense program, which
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                                   1   matches online content with ads relevant to that content. See id. at 1156, 1166. The Ninth Circuit

                                   2   noted that although Google had “the right to monitor and terminate partnerships with [third-party

                                   3   websites participating in AdSense] that violate others’ copyrights,” Google “[could] not stop any

                                   4   of the third-party websites from [directly infringing] Perfect 10’s images because that infringing

                                   5   conduct takes place on the third-party websites.” Id. at 1173–74.

                                   6          The Ninth Circuit then contrasted Google’s capabilities to those of the swap meet operators

                                   7   in Fonovisa, 76 F.3d at 262–63. In Fonovisa, the Ninth Circuit found that a swap meet operator’s

                                   8   “broad contract with its vendors” was sufficient to satisfy the control requirement because it “had

                                   9   the right to terminate vendors for any reason whatsoever and through that right had the ability to

                                  10   control the activities of vendors on the premises.” Id. at 263. Unlike Fonovisa, Google did not

                                  11   have “contracts with third-party websites that empower Google to stop or limit them from

                                  12   reproducing, displaying, and distributing infringing copies of Perfect 10’s images on the
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                                  13   Internet.” Amazon.com, 508 F.3d at 1173.

                                  14          In addition, the Ninth Circuit contrasted Google with Napster in A&M Records, 239 F.3d

                                  15   at 1011. “Because Napster had a closed system requiring user registration, and could terminate its

                                  16   users’ accounts and block their access to the Napster system, Napster had the right and ability to

                                  17   prevent its users from engaging in the infringing activity of uploading file names and downloading

                                  18   Napster users’ music files through the Napster system. By contrast, Google cannot stop any of the

                                  19   third-party websites from reproducing, displaying, and distributing unauthorized copies of Perfect

                                  20   10’s images because that infringing conduct takes place on the third-party websites.” Amazon.com,

                                  21   508 F.3d at 1174 (internal quotations and citations omitted).

                                  22          Here, although a close call, the Defendants are more similarly situated to the swap meet

                                  23   operator and Napster than to Google. Crucially, Plaintiff alleges that Defendants’ websites are

                                  24   online marketplaces that constitute “a large ecosystem for online and mobile commerce” over

                                  25   which Defendants “exercise high levels of control.” See FAC ¶¶ 11, 133, 151, 253. Plaintiff

                                  26   further alleges that Defendants are “involved in the day-to-day operation, control, marketing, and

                                  27   design of [the marketplaces].” Id. ¶ 6; see also id. ¶¶ 253, 346–49. For example, Plaintiff

                                  28   specifically alleges that “the Alibaba Defendants provide marketing services to merchants who
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                                   1   operate on Taobao, Alibaba.com and AliExpress, provide guidance for the layout of the

                                   2   merchants’ virtual stores, and facilitate transactions between merchants and buyers.” Id. at ¶ 346.

                                   3   Thus, unlike in Amazon.com, the alleged direct infringement here takes place not “on the internet”

                                   4   writ large but instead on Defendants’ websites/marketplaces. Moreover, Plaintiff alleges that

                                   5   Defendants have the right and ability to terminate the membership of merchants who repeatedly

                                   6   infringe, the right to remove, modify, or reject unlawful content on the websites/marketplaces, and

                                   7   the discretionary right to suspend access to the websites/marketplaces. See FAC ¶¶ 248–251. In

                                   8   other words, where Google had the right to terminate the AdSense partnership—which would not

                                   9   have stopped direct infringement by third parties—here the Defendants could have ended the

                                  10   alleged direct infringement on their own websites/marketplaces by terminating or suspending the

                                  11   merchants’ memberships. See Amazon.com, 508 F.3d at 1174; see also Routt v. Amazon.com, Inc.,

                                  12   584 Fed. Appx. 713, 714–15 (9th Cir. 2014) (“A defendant has control over a third party’s
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                                  13   infringing conduct when the defendant can directly put an end to that conduct.”).

                                  14          Second, Defendants argue that Plaintiff does not sufficiently allege that Defendants have

                                  15   “the practical ability to stop or limit the [alleged] infringement.” See Motion at 13. Defendants

                                  16   acknowledge that Plaintiff alleges that Defendants have deployed technology to identify and take

                                  17   down “millions of postings that infringed third parties’ intellectual property rights,” but contend

                                  18   that these measures “do not reflect an ability to prevent sellers from uploading infringing listings

                                  19   in the first place.” See id. at 13 (emphasis in original). However, as Plaintiff points out, see

                                  20   Opp’n at 9, a “practical ability” to stop or limit infringement does not require antecedent

                                  21   prevention. Instead, the question is whether Defendants have “the practical ability to police the

                                  22   infringing activities of third-part[ies].” See Amazon.com, 508 F.3d at 1174 (emphasis added).

                                  23   Indeed, “[t]o escape imposition of vicarious liability, the reserved right to police must be exercised

                                  24   to its fullest extent. Turning a blind eye to detectable acts of infringement for the sake of profit

                                  25   gives rise to liability.” See A&M Records, 239 F.3d at 1023.

                                  26          Here, Plaintiff has adequately alleged that Defendants failed to police their

                                  27   websites/marketplaces to the fullest extent, thus permitting detectable acts of infringement to

                                  28   occur. For example, Plaintiff alleges that Defendants have technology to proactively identify
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                                   1   infringing material, see, e.g., FAC ¶¶ 246, 252, and that Plaintiff has repeatedly notified

                                   2   Defendants of infringing material, see, e.g., id. ¶¶ 264–73, but that Defendants nonetheless failed

                                   3   to remove the infringing material, see, e.g., id. ¶¶ 221, 256, 274–86, 332. As another example,

                                   4   Plaintiff alleges that so-called “repeat offenders”—merchants identified as having previously

                                   5   infringed—were permitted to continue to use Defendants’ websites/marketplaces despite

                                   6   Defendants’ knowledge of the merchants’ infringing activity. See id. ¶¶ 337–341. Plaintiff also

                                   7   alleges that Defendants have failed to maintain adequate records of infringing activity, see id.

                                   8   ¶ 342, which the Court may reasonably infer hinders Defendants’ ability to police their system.

                                   9   Taken as a whole, the Court finds sufficient allegations of Defendants’ practical ability to stop or

                                  10   limit infringement and failure to police their websites/marketplaces “to [the] fullest extent.” See

                                  11   A&M Records, 239 F.3d at 1023.

                                  12          In sum, Plaintiff sufficiently alleges “a legal right to stop or limit the directly infringing
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                                  13   conduct, as well as the practical ability to do so.” Williams, 895 F.3d at 1132.

                                  14          B.    Direct Financial Benefit
                                  15          The Court next turns to the second element of vicarious copyright infringement, whether

                                  16   “the defendant derives a direct financial benefit from the direct infringement.” Amazon.com, Inc.,

                                  17   508 F.3d at 1173. “Financial benefit exists where the availability of infringing material acts as a

                                  18   draw for customers.” Ellison v. Robertson, 357 F.3d 1072, 1078 (9th Cir. 2004) (internal

                                  19   quotation and citations omitted). “[T]he size of the ‘draw’ relative to a defendant’s overall

                                  20   business is immaterial. Indeed, [t]he essential aspect of the ‘direct financial benefit’ inquiry is

                                  21   whether there is a causal relationship between the infringing activity and any financial benefit a

                                  22   defendant reaps, regardless of how substantial the benefit is in proportion to a defendant’s overall

                                  23   profits.” Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 673 (9th Cir.), cert. denied, 138 S. Ct.

                                  24   504, (2017) (internal quotation and citation omitted). “There is no requirement that the draw be

                                  25   substantial.” Ellison, 357 F.3d at 1079.

                                  26          Defendants argue that “Plaintiff’s allegations do not establish a direct financial benefit

                                  27   from the alleged direct infringement in the manner [] require[d].” See Motion at 16. At the

                                  28   pleading stage, the Court disagrees. The factual matter in the FAC, accepted as true, see Iqbal,
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                                   1   556 U.S. at 678, supports the inference that the allegedly infringing material draws customers to

                                   2   Defendants’ websites/marketplaces resulting in benefits to Defendants they would not otherwise

                                   3   receive. For example, Plaintiff alleges that Defendants receive commissions from the sale of

                                   4   unauthorized copies of Keck’s artwork and that the unauthorized display, reproduction and sale of

                                   5   copyrighted works owned by Keck and others draws visitors to Defendants’ platforms. See, e.g.,

                                   6   FAC ¶¶ 257–59. As another example, Plaintiff alleges that Defendants have knowledge that

                                   7   goods are being sold on their platforms in violation of third parties’ copyright and trademark

                                   8   rights, that Defendants have developed the reputation as marketplaces for such “[k]nock-off

                                   9   goods,” and that Defendants monetize increased traffic due to those goods. See, e.g., FAC

                                  10   ¶¶ 161–63. These allegations adequately support Plaintiff’s assertion of a causal link between the

                                  11   merchants’ allegedly infringing activities and financial benefit to Defendants.

                                  12          Defendants cite Ellison v. Robertson, 357 F.3d 1072 (9th Cir. 2004), for the proposition
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                                  13   that no causal relationship exists here. See Motion at 15–16. In Ellison, the question before the

                                  14   court was “whether there [was] a triable issue of a material fact regarding whether AOL received a

                                  15   direct financial benefit from the copyright infringement.” 357 F.3d at 1079. The court concluded

                                  16   that plaintiff had not offered enough evidence for a reasonable juror to find a direct financial

                                  17   benefit. Id. Here, at the pleading stage, the Court is not asked whether Plaintiff has sufficient

                                  18   evidence to create a triable issue of material fact. Instead, the question is whether Plaintiff

                                  19   plausibly alleged a direct financial benefit to Defendants due to the alleged infringing activity,

                                  20   which Plaintiff has.

                                  21          C.    Conclusion
                                  22          As stated above, the Court finds that Plaintiff has sufficiently alleged vicarious copyright

                                  23   infringement. For this claim, full application of the law to the facts would require a developed

                                  24   record. The Court has reviewed Defendants’ arguments in full and finds certain arguments

                                  25   compelling but better suited for summary judgment or trial on a developed record.

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                                   1   IV.   ORDER

                                   2         For the foregoing reasons, Defendants’ Motion for Partial Judgment on the Pleadings at

                                   3   ECF 292 is DENIED.

                                   4

                                   5         IT IS SO ORDERED.

                                   6   Dated: February 21, 2019

                                   7                                                ______________________________________
                                                                                    BETH LABSON FREEMAN
                                   8                                                United States District Judge
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